                                                                Sep 02, 2021

                                                                s/ TerriFicek




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                                                            s/ TerriFicek




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